           Case 1:23-cv-00108-LMB-JFA Document 1014-11 Filed 07/26/24 Page 1 of 11 PageID#
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              From:      Julie Sterling <jsterling@google.com>
              To:        Jonathan Bellack <jbellack@google.com>
              Sent:      Wed, 11 Nov 2015 10:20:07 -0500
              Subject:   Re: Fwd: [programmatic-news] Another header bidding push from Appnexus
              Cc:        Shane Peros <speros@google.com>

              - everyone else
              + Shane

              Hi Jonathan,

              I hope all is well! In speaking with Shane yesterday, we both agree that our sales team is still
              having some difficulty addressing the following statement I question from publishers: "the only
              reason we are considering header bidding is because DFP I AdX does not allow other SSP
              demand sources to bid in real time - why don't you allow this I have you any plans on allowing it
              so we can better maximize yield?"

              The training last week was FANT AS TIC and provided a ton of value to the team. I believe the
              info on how to ensure the publishers understand the risks of this type of implementation and how
              to properly implement (if they choose) was extremely valuable info. However, this question
              was not addressed and tends to be the "elephant in the room". I have seen the teams loose
              credibility when they can not answer this question well and I worry we are not giving consistent
              and accurate info to our partners.

              I am curious if you believe we will be able to get a Google / legal / policy approved way we can
              address this question? If we can address this question in a clear and consisten way I believe our
              consultative advice on how to maximize yield while protecting publisher / advertiser / user
              experience will be better received.

              Thanks,
              Julie


              On Wed, Sep 30, 2015 at 12:22 PM, Jonathan Bellack                                  wrote:

                Thanks for clarifying the status of the doc, Julie, and for the framing of the question you want
                more answers on. I'm confident the new messaging task force that Bryan, Alex, Drew &
                team have kicked off will help with this. With the changes in the DRX PM org, I'll be getting
                involved directly too. Stay tuned.


              -- Jonathan Bellack / ========
                Director, Product Management/ Publisher Ad Platforms

              On Wed, Sep 30, 2015 at 10:41 AM, Julie Sterling                              wrote:

                 Thank you everyone.




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           Case 1:23-cv-00108-LMB-JFA Document 1014-11 Filed 07/26/24 Page 2 of 11 PageID#
                                              74561



                 Jonathan - this comms doc was shared with sales over the summer and I know the team has
                 been using it as an education resource (but not sharing with clients directly).

              Drew - Thank you for the quick reply and comment rights. I added my thoughts regarding the
                need for the sales team to have a clear (and company approved) answer to the question "why
                does Google only have EDA setup with AdX and not other SSPs". This is not a new
                question by any means but it is coming up more and more due to these heading bidding
                discussions. I would love to hear your thoughts on this since my fear is that we are not
                being consistent in market with our answers to this sensitive question.



              On Tue, Sep 29, 2015 at 1:36 PM, Jonathan Bellack <ibellackra 1.1 001.rle.com> wrote:

                  OK -- just to clarify -- is this doc already approved for sharing to clients -- sounds like it
                  has been shared already? I am not trying to pull it back if it's already been baked and
                  shared for a while. Please let me know.


              -- Jonathan Bellack / jbellack(a 2002le.com
                Director, Product Management I Publisher Ad Platforms

              On Tue, Sep 29, 2015 at 12:45 PM, Alex Shellhammer <asliellliammcr(a uoot.dc.com> wrote:

                      Hey Jonathan,
                      This comms doc was shared a while back after the first flurry of activity after DLS. It's
                      recently been updated by Drew and there are plans to add additional info based on our
                      meeting yesterday.

              I'm working on an external marketing plan to get our voice in market on topic related to HB
                   until we solidify our product strategy. More to come on the plan next week.

              Best,
              Alex




              Alex Shellhammer I Product Marketing Manager, AdX
                  i ashellhammer al oo le.com I 212-565-5565
               Learn About Efficient Media Buying & RTB



              On Tue, Sep 29, 2015 at 12:04 PM, Drew Bradstock <dbradstock(a,roo,rlc.corn> wrote:




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           Case 1:23-cv-00108-LMB-JFA Document 1014-11 Filed 07/26/24 Page 3 of 11 PageID#
                                              74562



                      Hi Jonathan,
                      We have been working with Fabrizio, Assaf and Bryan on the deck using approved
                      content. The doc was updated based on feedback from the taskforce.

              As requested I've given you and Jerome edit rights and opened it more widely to comment
                   rights. I've added a comment at the top on external messaging being in review.

              Regards,
              Drew

              On 29 September 2015 at 11:51, Jonathan Bellack <ibellack(@,google.com> wrote:

                      Drew and Alex -- is this approved for use by sales yet? I think Jerome & Chris (and I)
                      would like to read it over before it's blessed. If it's not approved for use yet, can you
                      indicate that on the doc? And also allow comments? (It's locked to view-only right
                      now)


              -- Jonathan Bellack / jbdlack(,v,google.com
                Director, Product Management / Publisher Ad Platforms

              On Tue, Sep 29, 2015 at I 0:08 AM, Drew Bradstock <dbradstock(cil.googk.com> ,vrote:

                       Hi Julie,
                       This is great feedback (and David had shared your pJayground adventures). Bryan,
                       myself and the task force is working ont he response now. Can you take a look at the
                       current comms doc and let us know how useful it is is. I'll give you comment rights
                       now as we want to make sure it arms the sales team well as we complete the rest of our
                       training efforts. go/hbcomms

              Thanks,
               Drew

              On 29 September 2015 at I 0:05, Jonathan Bellack <jhcllack(a)2:ooglc.com> wrote:


                        Thanks Julie. There is a task force spinning up to revamp our Indirect story and we
                        should be able to help answer these questions as part of that effort.

                        On Sep 29, 2015 9:56 AM, "Julie Sterling" <i§.rs;rU.!llM~>ogk.com> wrote:

                         - most of the recipients on this string.

              Jonathan, Drew, David, Bryan & Damian,

              Hope all is well. I wanted to share my thoughts on this (to a smaller audience) and
                       ask for some feedback on how to address what many folks on the sales team




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           Case 1:23-cv-00108-LMB-JFA Document 1014-11 Filed 07/26/24 Page 4 of 11 PageID#
                                              74563



                       feel is the 800Ib gorilla in the room. David and I had a 30 minute discussion
                       at a Brooklyn playground about this on Sunday (don't laugh) and by the end of
                       it I was convinced we needed help to address a key question that was not
                       discussed on this string.

               First, I love the interaction on this string! As you know, this is a topic that the sales
                          teams are dealing with every day so the more education and marketing
                          materials the better. However, I feel like we are missing one key part of the
                          conversation. The sales team needs to better understand our stance (and
                          have a company approved message) on why we do not currently offer
                          dynamic integration with other SSPs {ie Rubicon). The sales team also
                          needs to understand if we do plan on allowing this integration (or build our
                          own type of header-bidding) since there are rumors flying around that we are
                          building both.) I polled a few senior vertical leads, revenue account
                          managers and SPLs and no one had a great answer to the question - "we are
                          only doing header-bidding to max yield across multiple demand
                          partners, we would not do this if DFP had this capability- why don't
                          you?"

               I believe we should arm the sales team with a 4 part response (very rough outline
                         below). We have a great start on 3 of the parts but need some help on the
                         last piece - highlighted in yellow.     - I would love to hear your perspective
                         on this and ask if you believe we can craft this type of message as soon as
                         possible. I fear we are not being as effective a possible when having these
                         conversations today and I worry about losing trust with our partners. From a
                         personal standpoint, I am on a PMP panel next month and I have been
                         warned that this topic will come up. I am working on my talking points but
                         want to be sure they are PM approved.

               1. Empathy - explain that we understand that the quickly changing market dynamics
                     are challenging them. The shift of traffic to mobile devices, view-ability
                     demands (along side other existing kPls), ad blocking, etc.

              2. Capabilities - What we have (and are planning to) build to protect their data/ users
                     and help to drive max revenue - Discuss first look, TYM, investment in formats
                     (ie Native), maleware detection, etc... We should ensure the teams knows
                     this message cold.

               3. Why no dynamic calls today - tech issues? policy issues? product prioritization
                      issue? I have heard a few of these but it would be great to get a company
                      approved message on why we currently do not dynamically call Rubicon (and
                      other SSPs}. Are we considering building this? If so, we need to be careful
                      on how we message this today.

              4. Things to consider when choosing to adopt header bidding - latency, data
                      leakage, complexity, etc.... I feel like we have a lot of these and are better




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           Case 1:23-cv-00108-LMB-JFA Document 1014-11 Filed 07/26/24 Page 5 of 11 PageID#
                                              74564



                       informed than ever on how to message the concerns pubs should have
                       with this implementation.

              Best,
              Julie


              ---------- Forwarded message ----------
              From: Heidi O'brien <hobrien(o,uoo1rle.com>
              Date: Fri, Sep 25, 2015 at 3:41 PM
              Subject: Re: [programmatic-news] Another header bidding push from Appnexus
              To: Jonathan Bellack <jhclla..:k(a oo ,Jc ...:om>
              Cc: Chris Jansen <cjansen;w;rooirle.corn>, browley <bro,,.ley(dgoogle.com>, Drew Bradstock
                          <dhradstock((Vgoogle.com>, Programmatic Display News <pro rrammatic-
                          news11iuooi.de.com>, Brian Tomasette <tomaselteii:1200:!le.com>, Florie Arlegui
                          <tloric(duoouk.com>, Consumer Info services <consum1-'.r-info-pbsfr·1j 002.le.com>,
                          "scottspcnccr(<J;googlc .com" <scottspcnco:r(c1· googlc .com>, Jason Sigalos
                          <sigalo~(tf;googk.com>, Jon Sheffield <jshd1icld(a.,googk.com>, Christopher Chagal
                          <chagal(d·uooule.com>, Chetan Nabar <cnahari(1;Qooi.de.com>


              Great. We'll share what we find.


              On Fri, Sep 25, 2015 at 3:16 PM, Jonathan Bellack <jbellack(i,ivoogle.rnm> wrote:

                        Thanks! The smoking gun we have been looking for is a before/after comparison
                        that proves that header bidding is causing AdX revenue to grow slower or shrink.


              -- Jonathan Bellack / jbellack(a e.oo 1 le.com
                Director, Product Management/ Publisher Ad Platforms

              On Fri, Sep 25, 2015 at 3:08 PM, Heidi O'brien <hohricn(a~googk.corn> wrote:

                         Hi Jonathan,
                         Our team is pulling some pretty in-depth information to see how header bidding is
                         affecting one of our partners who currently uses 4 header bidding technologies.

              Happy to share when the analysis is complete.



              On Fri, Sep 25, 2015 at 12:23 PM, Jonathan Bellack <jbellack(1igoo~le.com> wrote:


                          Cool! Have you or any other pod seen data where a pub adding header bidding has




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           Case 1:23-cv-00108-LMB-JFA Document 1014-11 Filed 07/26/24 Page 6 of 11 PageID#
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                          correlated with revenue decreases?

                          On Sep 25, 2015 11:25 AM, "Chris Jansen" <ci:msen(a google.com> wrote:

                           Great to see this dialogue. Our pod has been mulling a publisher event to discuss this topic candidly,
                           tackle misunderstandings, etc. Have gotten some input from a few of you so far. We have no interest in
                           going rogue on this, so we'll look forward to final messaging and sales training first. We'll coordinate
                           with Bryan on a possible event as well as to offer feedback on what we're seeing on the front lines.

              Chris



              On Fri, Sep 25, 2015 at 11 :07 AM, Brian Tomasette <i0mas.:ite(a.googk.com> wrote:

                            I will coordinate with Rowley as well to make sure we are not duplicating efforts.

              On Fri, Sep 25, 2015 at 10:58 AM Jonathan Bellack <jbellack(cigoogle.com> wrote:

                              Lots of energy on this! Bryan Rowley is already organizing an Indirect
                              pitch/relaunch task force -- can you talk with him to see if we can do everything
                              in one working group?
                              Beyond header bidding, we also have opportunity to educate the market on new
                              things, like:

              - First Look Deals in DRX
              - That DBM uses Google data on AdX but not elsewhere (ICM, Google demo) -- which I
                             believe has demonstrable lift
              - A PoV to AdX buyers about non-transparent re-listing of inventory -- how can we get the
                             buyers to care about seeing the same impression multiple times from multiple
                             exchanges? Should they be demanding transparency (like a unique query
                             identifier) -- so they can tell if it's a re-listed query, and also measure the
                             performance impact from the extra latency ofre-listed queries?


              -- Jonathan Bellack / jbcllack(a 200 •le.com
                Director, Product Management I Publisher Ad Platforms

              On Fri, Sep 25, 2015 at 10:50 AM, Brian Tomasette <ioma-.;citda googk.corn> wrote:

                              +Scott Spcnc1:r and I were literally discussing this topic as this string went on
                              and putting a CSI/GSL/PM working group on the calendar to address this with
                              a sales education deck and the Programmatic Direct response to Header Tag
                              Bidding. Maybe we can also work on a white paper/PR portion of this effort as
                              well.

              More to come!

              Thanks,




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           Case 1:23-cv-00108-LMB-JFA Document 1014-11 Filed 07/26/24 Page 7 of 11 PageID#
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              Brian

              On Fri, Sep 25, 2015 at 10:44 AM Jason Sigalos <s1galos(dgoogle.com> wrote:

                                            Great points Jonathan. We've also discussed the safety issue (malware risk vs.
                                            the controlled and managed RTB environment), and data leakage issue. Is
                                            there a way for Google to do a study on latency? I think your second point is
                                            great as well - who knows what these demand partners actually pay in the
                                            end.
                                            Provocative stuff - I realize a lot of work is being done on this, and appreciate
                                            the comments.
                                            Jason



              Jason
              P:., ... - '", ·.- ··- I C:




              On Fri, Sep 25, 2015 at 10:36 AM, Jonathan Bellack <jbdlack(dgoogk.com> wrote:

                                            The things to ask publishers are:
                                            1 - how much latency does header bidding add to your pages? Have you
                                            done a control experiment to see if adding that latency impacts your
                                            pageviews, session length, etc?

              2 - how are you controlling for the fact that a header bidding company doesn't have to pay you
                                what they report per query? How do you know the header-bidding company
                                isn't claiming they can pay, say $2, but actually only getting $1.50? Do you
                                have contract terms obligating them to pay what they bid? Do you have
                                reporting set up to monitor that and catch them if they're misrepresenting?

              3 - Are you comparing the CPMs and spend you get from a given buyer (MediaMath etc)
                              between systems? For example is MM paying out the same on AdX as the
                              header bidding company, implying there's no lift from the HB competition?




              -- Jonathan Bellack / jbcllack(a googk.com
                Director, Product Management/ Publisher Ad Platforms

              On Fri, Sep 25, 2015 at 10:32 AM, Jason Sigalos <sigalos(d.gQggle.corn> wrote:

                                             Thanks Drew. To be clear, I can sell against the idea of booking HB in such
                                             a way that EDA is not eligible. That's dumb, and counter pub yield. DA has
                                             always been about a real-time check with Google for a better price. If




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           Case 1:23-cv-00108-LMB-JFA Document 1014-11 Filed 07/26/24 Page 8 of 11 PageID#
                                              74567



                                        publishers don't want to check Google, with no measurable downside, before
                                        allocation, then they're not thinking logically. Its the second scenario, where
                                        EDA is competing, that's very difficult to rebut in the field.
               Jason



              Jason
              r: 212.:;x1 59~~ I C:




              On Fri, Sep 25, 2015 at 10:07 AM, Drew Bradstock <dbrndstock1ci:.gool!le.com> wrote:


                                         There is a tonne of faulty logic in the article. We have updated the corruns
                                         doc at go/hbcomms. The biggest issue we face with header bidding right
                                         now is when its set up such that EDA is no longer eligible. If we retain our
                                         right to compete we have no issue competing with a more accurate real
                                         time price. Ifwe can make the pub more money we win. If not, we don't.
                                         It's that simple right now. Some vendors however are setting up their hb
                                         implementations such that eda is excluded. That is counter productive as
                                         the whole point of hb is to get more accurate real time pricing to compete
                                         with.

                                         Drew

              Sent from my Android Nexus so please excuse any typos.

                                         ·c urious if anyone believes there is faulty logic in the argument presented?

              AdWords integration into AdX (which allows for the submission of its two highest bids at
                                 auction) seems to acknowledge the issue presented here, and addresses it
                                 cleanly while maintaining the second price auction.

              l may be missing the holes, but I'm finding it hard to rebut header bidding "thought" pieces.
                                  Would love to hear other perspectives on this.
              Jason




              Jason
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           Case 1:23-cv-00108-LMB-JFA Document 1014-11 Filed 07/26/24 Page 9 of 11 PageID#
                                              74568



              On Fri, Sep 25, 2015 at 5:53 AM, Florie Arlegui <florie(a;goo2le.corn> wrote:


                                 .See exchange wire article from Appnexus' SVP of publisher strategy
                                 _advocating for Header bidding
              https://www.exchangewire.com/blogi2015/09/22/header-bidding-another-nai l-•in-the-second-
                                  pricc-coffin




              Chris Jansen I Strategic Partner Lead I ciansen@google.com I 212.565.3026

              Working on your Native strategy? Ask me about DFP+AdX Native for Apps.




              Julie Sterling
              Head of Publisher Sales, Automotive Partnerships
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          Case 1:23-cv-00108-LMB-JFA Document 1014-11 Filed 07/26/24 Page 10 of 11 PageID#
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               Drew Bradstock I Group Product Manager, DoubleClick for Publishers & Ad Exchange
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